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m THE UNITED sTATEs DISTRICT comean BY_..%.-__._\).¢
FOR THE wEsTERN DISTRICT op TENNESSEE
wEsTERN DIVISION 05 mg 29 AH 5:1,2
UNITED sTATEs oF AMERICA :LEWD'U¢S€"H¢SMMS
Plaintiff,
mr -205<>7

(30*Day Continuance)

{\/IO\ F$\n Q\` H€.Ab€.|'§ 04

 

 

 

 

Vvv~_,V\/`_rvv~_/V`_,VV`_,VV\,V~_,

Defendant(s).

 

CONSEN'I` OR.DER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, SeDtember 23. 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Thls document entered on the docket sheet ln com llanca
with Ru|a 55 and/or 32(b) FRCrP on " '05

Criminal NO. _CH- 19'}0& Ml \/

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SO ORDERED this 26th day of August, 2005.

MCQQ

 

JO PHIPPS MCCALLA
'I`ED STATES DISTRICT JUDGE

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<"'.__"'_`_>

 

Assistant United States Attorney

_/JM

 

 

 

Counsel for Defendant(s)

   

UNITED sTEATsDTIsRIC COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

